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 12    Fax: (213) 443-5400                    Attorneys for Plaintiff Yuga Labs, Inc.
 13    Attorneys for Defendants
       Ryder Ripps and Jeremy Cahen
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 16
                              UNITED STATES DISTRICT COURT
 17
                             CENTRAL DISTRICT OF CALIFORNIA
 18
                                        WESTERN DIVISION
 19
 20
       Yuga Labs, Inc.,                            Case No. 2:22-cv-04355-JFW-JEM
 21
 22                       Plaintiff,
                                                   STIPULATION TO MEET AND
 23          v.                                    CONFER BY
 24                                                VIDEOCONFERENCE
       Ryder Ripps and Jeremy Cahen,               REGARDING REASONABLE
 25                                                ATTORNEYS’ FEES
 26                       Defendants.
                                                   Judge: Hon. John F. Walter
 27
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                                           Attorneys for Plaintiff and Counterclaim
 11                                        Defendant YUGA LABS, INC.
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       Case No. 2:22-cv-04355-JFW-JEM                       STIPULATION TO CONFER
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  1         Plaintiff Yuga Labs, Inc. (“Plaintiff” or “Yuga Labs”) and Defendants Ryder
  2   Ripps and Jeremy Cahen (“Defendants”) (collectively, the “Parties”), through their
  3   respective counsel of record, hereby stipulate as follows:
  4         WHEREAS, the Court’s October 25, 2023, order (Dkt. 431) requires, amongst
  5   other things, that (1) Yuga shall provide Defendants with all billing records and other
  6   documents which it will rely on in support of its request for reasonable attorneys’ fees
  7   and costs by November 1, 2023, (2) lead counsel for the Parties shall meet and confer
  8   in person regarding reasonable attorneys’ fees on or before November 13, 2023, and
  9   (3) for any remaining disputes, the Parties shall file a joint statement regarding
 10   attorneys fees on or before November 30, 2023.
 11         WHEREAS, pursuant to the Court’s order dated October 25, 2023, Yuga
 12   provided Defendants with the billing records and other documents on which it will
 13   rely in support of its requests for attorneys’ fees and costs.
 14         WHEREAS, lead counsel for Defendants is unable to travel to confer in person
 15   between November 2 and November 13, as order by this Court’s order dated October
 16   25, 2023, because lead counsel for Defendants has in-person commitments teaching at
 17   Boston and Cambridge, Massachusetts on November 2nd, 3rd, 9th, 10th, and 13th, as
 18   well as unmovable personal commitments on November 4th, 5th, 7th, 8th, and 11th
 19   that include participating in school interviews for his children and hosting a charity
 20   auction.
 21         WHEREAS, lead counsel for Plaintiff is unable to travel to the Boston area
 22   prior to November 13, 2023.
 23         WHEREAS, the Parties respectfully request that the Parties be permitted to
 24   conduct their conference of counsel by videoconference rather than in person.
 25                                       STIPULATION
 26         THEREFORE, IT IS HEREBY STIPULATED, AGREED, and JOINTLY
 27   REQUESTED by the Parties, through their respective attorneys, that:
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  1         1.    The Parties shall confer regarding reasonable attorneys’ fees by
  2               videoconference on or before November 13, 2023.
  3         2.    This stipulation is without prejudice to the rights, claims, arguments, and
  4               defenses of all parties.
  5
  6   Dated: November 2, 2023                By: /s/ Louis W. Tompros
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  8                                              Monica Grewal (pro hac vice)
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 17                                              Fax: (213) 443-5400
 18                                              Attorneys for Defendants
                                                 Ryder Ripps and Jeremy Cahen
 19
 20
 21   Dated: November 2, 2023                By: /s/ Eric Ball
 22                                             ERIC BALL (CSB No. 241327)
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 23                                             KIMBERLY CULP (CSB No. 238839)
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 11                                         Attorneys for Plaintiff Yuga Labs, Inc.
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  1                  ATTESTATION OF CONCURRENCE IN FILING
  2         Pursuant to the United States District Court for the Central District of California’s
  3   Civil L.R. 5-4.3.4(a)(2)(i), Louis W. Tompros attests that concurrence in the filing of
  4   this document has been obtained from Eric Ball.
  5
  6   Dated: November 2, 2023                 By: /s/ Louis W. Tompros
  7                                                Louis W. Tompros
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  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that a copy of the foregoing document was served on all attorneys
  3   of record via the Court’s ECF on November 2, 2023.
  4
  5   Dated: November 2, 2023                By: /s/ Louis W. Tompros
  6                                              Louis W. Tompros
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      Case No. 2:22-cv-04355-JFW-JEM                             STIPULATION TO CONFER
